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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

                           *
  JILL HINES ET AL         *  CASE NO. 3:23-CV-571
                           *
  VERSUS                   *  CHIEF JUDGE TERRY A. DOUGHTY
                           *
  ALEX STAMOS ET AL        *  MAG. JUDGE KAYLA D. MCCLUSKY
                           *
  ****************************************************

                                             ORDER

         Considering the Unopposed Motion for Extension of Time to File Responsive Pleadings

  filed by Alex Stamos, Renée DiResta, the Board of Trustees of the Leland Stanford Junior

  University, Leland Stanford Junior University, Kate Starbird, Graphika, Atlantic Council, and

  Graham Brookie (the “Motion”),

         IT IS HEREBY ORDERED that the Motion is GRANTED.

         IT IS FURTHER ORDERED that the deadline for all Defendants to respond to the

  Complaint is hereby extended to July 14, 2023.

         SIGNED this 31st day of May, 2023, in Monroe, Louisiana.




                                              UNITED STATES MAGISTRATE JUDGE
